           Case 2:09-cr-00356-LKK Document 23 Filed 10/23/09 Page 1 of 3


 1   LAWRENCE G. BROWN
     United States Attorney
 2   TODD D. LERAS
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2918
 5
 6
 7
 8              IN THE UNITED STATES DISTRICT COURT FOR THE
 9                     EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )
                                      )    Case No. 2:09-CR-356 LKK
12             Plaintiff,             )
                                      )    ORDER CONTINUING STATUS
13                                    )    CONFERENCE
          v.                          )
14                                    )
     RUBEN ACOSTA LUGO,               )
15   GUADALUPE ALBERTO VELARDE        )
     ROCHIN,                          )
16      aka Juan Jose Padilla,        )
                                      )
17             Defendants.            )
                                      )
18
19
20        This matter came before the Court for a status conference on
21   October 20, 2009, at 9:15 a.m.       The United States was represented
22   by Assistant United States Attorney Todd D. Leras.         Defendants
23   Acosta Lugo and Velarde Rochin were personally present. Assistant
24   Federal Defender Caro E. Marks appeared for Defendant Acosta
25   Lugo, and Attorney Lorie J. Teichert appeared for Defendant
26   Velarde Rochin.
27        The Court arraigned defendants on a Superseding Indictment.
28   The Superseding Indictment charges Defendant Guadalupe Alberto

                                          1
              Case 2:09-cr-00356-LKK Document 23 Filed 10/23/09 Page 2 of 3


 1   Velarde Rochin by his true name.          The original indictment charged
 2   Velarde Rochin by an alias, Juan Jose Padilla.           The Court granted
 3   the government’s motion to dismiss Juan Jose Padilla as a named
 4   defendant in this action.
 5           The parties and both defendants agreed to set a status
 6   conference date of February 17, 2010, at 9:15 a.m.             Defense
 7   counsel expressed their intent to file a motion to suppress
 8   evidence.     Both defense counsel further indicated that they
 9   needed preparation time to research the law and conduct
10   additional investigation in support of the motion to suppress.
11   Both defendants consented to the request and the exclusion of
12   time for attorney preparation.
13           The parties agreed to the following briefing schedule for
14   the motion to suppress evidence:
15           1.   Defendants’ motions to be filed on or before January 5,
                  2010;
16
             2.   Government’s opposition brief to be filed on or before
17                January 26, 2010;
18           3.   Defendants’ reply briefs due on or before February 9,
                  2010.
19
20           The Court ordered the status conference continued to
21   February 17, 2010, at 9:15 a.m.         The Court further ordered that
22   time be excluded under 18 U.S.C. § 3161(h)(7)(B)(iv); Local Code
23   T4 (reasonable time to prepare).          The Court directed counsel for
24   the government to prepare a formal order.
25   / / /
26   / / /
27   / / /
28                                       ORDER

                                           2
           Case 2:09-cr-00356-LKK Document 23 Filed 10/23/09 Page 3 of 3


 1        1.      The government’s motion to dismiss Juan Jose Padilla as
 2   a named defendant in this case is granted.
 3        2.     The briefing schedule stipulated by the parties for the
 4   motion to suppress evidence is adopted by the Court.
 5        3.     A status conference is set for February 17, 2010, at
 6   9:15 a.m.
 7        4.      Based on the parties’ representations and the consent
 8   of Defendants to the request, the Court finds that the ends of
 9   justice outweigh the best interest of the public and Defendants
10   in a speedy trial.    Accordingly, time under the Speedy Trial Act
11   (18 U.S.C. § 3161(h)(7)(B)(iv); and Local Code T-4) shall be
12   excluded up to and including February 17, 2010.
13        IT IS SO ORDERED.
14
15   Date: October 23, 2009
16
17
18
19
20
21
22
23
24
25
26
27
28
